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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:12CR282
                                             )
             Plaintiff,                      )
                                             )                  AMENDED
             vs.                             )              TENTATIVE FINDINGS
                                             )
JULIO FAVELA-PEREZ,                          )
                                             )
             Defendant.                      )

      The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”), and the Defendant's objections (Filing No. 313). The government has

not objected to the PSR.1 See Amended Order on Sentencing Schedule, ¶ 6. The Court

advises the parties that these Tentative Findings are issued with the understanding that,

pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are

advisory.

      Accordingly,

      IT IS ORDERED:

      1.     The Defendant’s Objection to the Presentence Investigation Report

(Filing No. 313) will be heard at the sentencing hearing;

      2.     The Court intends to adopt the PSR in all other respects;

      3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion



      1
       Tentative Findings were originally issued in this matter on May 28, 2013. On June
5, 2013, the government filed an Unopposed Motion to Continue Sentencing and to Enlarge
Time to File Objections (Filing No. 339). The motion was granted and an Amended Order
on Sentencing Schedule was issued. No objections were filed by the government on ECF,
nor were any objections raised by the government in the Addendum to the PSR.
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challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these amended tentative findings are final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 15th day of July, 2013.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge
